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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  FT. WAYNE DIVISION

                                                    :
Robert Kim,                                         :
                                                    :
              Plaintiff,                            : Civil Action No.: 1:14-cv-00312-JD-SLC
         v.                                         :
                                                    :
Cellco Partnership, d/b/a Verizon Wireless,         :
                                                    :
                                                    :
                Defendant/Third-Party Plaintiff,    :
                                                    :
         v.                                         :
                                                    :
Tosha Tarter,                                       :
                                                    :
                Third-Party Defendant.              :
                                                    :

                           THIRD-PARTY DEFENDANT’S MOTION
                           TO DISMISS THIRD-PARTY COMPLAINT

         Third-Party Defendant, Tosha Tarter (“Tarter”), by and through undersigned counsel,

hereby moves the Court to dismiss Defendant, Cellco Partnership d/b/a Verizon Wireless’

(“Verizon”), third-party complaint pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a

claim.

         Third-Party Defendant respectfully requests that the Court dismiss this action and award

her all appropriate attorneys’ fees and costs.

Dated: June 1, 2015                                Respectfully submitted,

                                                 By /s/ Amy L. Cueller
                                                   Amy L. Cueller, Esq.
                                                   LEMBERG LAW, LLC
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                                                   Stamford, CT 06905
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                                                   Email: acueller@lemberglaw.com
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                                CERTIFICATE OF SERVICE
     I hereby certify that on June 1, 2015, a true and correct copy of the foregoing was filed with

the Clerk of the Court which sent notice of such filing to the following.

William J. Anaya, Esq.
Elizabeth A. Thompson, Esq.
ARNSTEIN & LEHR LLP
120 South Riverside Plaza
Suite 1200
Chicago, Illinois 60606-3910




                                                     By: /s/ Amy L. Cueller
                                                          Amy L. Cueller, Esq.




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